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HID 007A (Rev. 02 /14) Motion to Appear Pro Hac Vice

UNITED STATES DISTRICT COURT
for the

District of Hawaii

COUNTY OF MAUI

CV 23-00565 JAO-BMK
Case No.

Plaintiff

Vv.

MAUI ELECTRIC COMPANY, LIMITED et al.,

Defendant

Nene Ne Nae Nee Nee Ne Se Ne” Ne” ee”

MOTION TO APPEAR PRO HAC VICE
(Attach Declaration of Counsel in support of motion. $300.00 assessment required to be paid through Pay.gov.)

Name of Attorney: Robert J. Chambers II

Firm Name: Diab Chambers LLP

Firm Address: 10089 Willow Creek Rd., Suite 200, San Diego, CA 92131

Attorney CM/ ECF rob @dcfirm.com

Primary email address:

Firm Telephone: 619.658.7010 Firm Fax: |619.393.0656
Party Represented: Plaintiff, COUNTY OF MAUI

Name/Address Cronin, Fried, Sekiya, Kekina & Fairbanks

of Local Counsel L. Richard Fried, Jr. Esq., Patrick F. McTernan Esq.

841 Bishop Street, Suite 600, Honolulu, Hawai‘ 96813

Pursuant to LR 83.1(e) of the Local Rules of Practice for the United States District Court for the District of Hawaii, the undersigned
applies for an order permitting the above-named attorney to appear and participate as counsel pro hac vice for the above-named
party in all matters in the above-captioned case or proceeding. This request is based on the declaration of the attorney seeking to
appear pro hac vice.

/z ds LL 23. a bpnscve FSV Zé gete

ated: Signature* (Print name if original signature)

*If this motion is being signed by local counsel on behalf of the applicant, the signature constitutes consent to the
designation as associate counsel; otherwise such consent shall be filed separately.

